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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                           WEST PALM BEACH DIVISION

                                      Civil Action No. 9:18-cv-80086-DMM

   CHARLES WILDES, individually; FRANCISCO DORIA, individually;
   AKIVA KATZ, individually; JAMES GURRY, individually;
   RONALD NELSON, individually; and JUSTIN PERRY, individually;
   and on behalf of All Others Similarly Situated;
          Plaintiffs,
   v.
   BITCONNECT INTERNATIONAL PLC, a foreign corporation;
   BITCONNECT LTD., a foreign corporation;
   BITCONNECT TRADING LTD., a foreign corporation;
   JOSHUA JEPPESEN, an individual; GLENN ARCARO, an individual;
   TREVON BROWN a/k/a TREVON JAMES, an individual;
   RYAN HILDRETH, an individual; CRAIG GRANT, an individual;
   JOHN DOE NO. 1 a/k/a NICHOLAS TROVATO a/k/a CRYPTONICK, an individual;
   RYAN MAASEN, an individual; and JOHN DOE NOS. 2-10, individuals;
         Defendants.
   ________________________________________________/

              EX PARTE MOTION FOR TEMPORARY RESTRAINING ORDER

          Plaintiffs CHARLES WILDES, FRANCISCO DORIA, AKIVA KATZ, JAMES GURRY,

   RONALD NELSON, and JUSTIN PERRY (“Plaintiffs”), individually and on behalf of all other

   persons similarly situated as defined herein, by and through undersigned counsel and pursuant to

   Federal Rule of Civil Procedure 65(b), hereby respectfully request that this Court enter a Temporary

   Restraining Order (TRO) against Defendants BITCONNECT INTERNATIONAL PLC, a foreign

   corporation; BITCONNECT LTD., a foreign corporation; BITCONNECT TRADING LTD., a

   foreign corporation (the business entities collectively referred to herein as “BITCONNECT”);

   JOSHUA JEPPESEN, an individual; GLENN ARCARO, an individual; TREVON BROWN a/k/a

   TREVON JAMES, an individual (“TREVON JAMES”); RYAN HILDRETH, an individual; CRAIG

   GRANT, an individual; JOHN DOE NO. 1 a/k/a NICHOLAS TROVATO a/k/a CRYPTONICK,


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   an individual (“CRYPTONICK”); and RYAN MAASEN, an individual (collectively referred to as

   “Defendants”) to freeze Defendants’ assets and require Defendants to disclose the bitcoin and other

   cryptocurrency wallet addresses so their assets can be monitored. A fellow U.S. District Court has

   already entered a TRO against some of the Defendants in a parallel lawsuit filed subsequently

   to the instant matter. 1 In support of the request for a TRO herein, Plaintiffs allege as follows:

                                          FACTUAL BACKGROUND

           BITCONNECT INTERNATIONAL PLC; BITCONNECT LTD.; and BITCONNECT

   TRADING LTD. (collectively “BITCONNECT”) are all parts of the same foreign technology

   organization that conducted its business on the internet, principally by means of websites accessible

   at www.bitconnect.co and www.bitconnectcoin.co. BITCONNECT described itself as “an open

   source all-in-one bitcoin and crypto community platform designed to provide multiple investment

   opportunities with cryptocurrency education where it is entirely possible to find the independence we

   all desire, in a community of like-minded, freedom-loving individuals who, like you, are seeking the

   possibility of income stability in a very unstable world.” When BITCONNECT referred to “all-in-

   one bitcoin and crypto community platform,” it was referring to the ability to trade and profit from

   cryptocurrencies, including bitcoin, and to gain access to Initial Coin Offerings (“ICOs”).

           At the heart of its business, BITCONNECT purported to offer investment opportunities that

   allow individuals to profit from: (1) BITCONNECT’s trading of digital tokens through a proprietary,

   secret automated trading system it called its “volatility software,” (2) its digital token (the BitConnect

   Coin [BCC]), and (3) its referral program. BITCONNECT offered investments (the “BitConnect




   1
    See, Paige v. BitConnect International PLC, BitConnect Ltd., BitConnect Trading Ltd., and Ryan Maasen, U.S.
   District Court - Western District of Kentucky, Case No. 3:18-cv-00058-JHM-DW at Docket Entry
   No. (DE 7) (Dated: January 30, 2018).
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   Investments”) to the general public, including the residents of Florida. The BitConnect Investments,

   as described below, were the BitConnect Lending Program and the BitConnect Staking Program.

           BITCONNECT offered and sold to the public an investment it called the “BitConnect

   Lending Program.” BITCONNECT represented that its investors in the program would earn up to

   forty percent (40%) interest per month over a specified term and an additional rate of interest

   calculated on a daily basis. BITCONNECT indicated that the interest was earned through the profits

   generated by its proprietary, secret trading system (the “volatility software”). BITCONNECT

   published statements on its website and elsewhere that suggested that investors were guaranteed the

   return of their principal investment in as soon as one-hundred twenty (120) days. To take part in the

   BitConnect Lending Program, investors first had to purchase bitcoin with their fiat currency, such as

   the U.S. Dollar or Euro. BITCONNECT then directed investors to deposit their bitcoin into the

   BitConnect BCC Exchange platform. Once deposited, BITCONNECT instructed each investor to

   sell his/her/its bitcoin to BITCONNECT in exchange for its own digital token (BCC). Investors

   then “loaned” their BCC back to BITCONNECT; and BITCONNECT claimed to use the BCC that

   it borrowed from investors to fund the trading activities of the “volatility software.”

           BITCONNECT also offered and sold to the general public an investment it called the

   “BitConnect Staking Program.” BITCONNECT represented that investors in this program would

   earn interest of up to ten percent (10%) per month over a specified term. In the BitConnect Staking

   Program, investors first had to purchase bitcoin with their fiat currency, such as the U.S. Dollar or

   Euro. BITCONNECT then directed investors to deposit their bitcoin into the BitConnect BCC

   Exchange platform. Once deposited, BITCONNECT instructed each investor to sell his/her/its

   bitcoin to BITCONNECT in exchange for BCC. Investors then had to download and install on their

   computers the BitConnect-QT wallet software and hold the BCC in the BitConnect-QT wallet for

   more than fifteen (15) days. The funds that BITCONNECT paid to investors were purportedly based

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   on the number of BCC, or “stake,” each investor held in the BitConnect-QT wallet installed on the

   investor’s computer. The amount of interest paid to investors was purportedly contingent upon the

   dates of the investors’ investments.

           BITCONNECT used sales agents, which it refers to as “affiliates,” to direct investors to the

   BitConnect Websites for the purpose of purchasing BitConnect Investments. In return for funneling

   additional investors to BITCONNECT, the affiliates were paid sizeable commissions. Defendants

   GLENN ARCARO, TREVON JAMES, RYAN HILDRETH, CRAIG GRANT, CRYPTONICK,

   and RYAN MAASEN were among the most influential, and most successful, of those affiliates.

           In mid-January 2018, BITCONNECT boasted a market cap of over $2.5 billion. On January

   17, 2018 -- as the unsustainable growth of BITCONNECT’s scheme grew larger, and the sound of

   government regulators coming to take a closer look into BITCONNECT’s operations grew louder --

   BITCONNECT suddenly shut down its trading platform and lending program, a maneuver that

   precipitated an almost immediate ninety percent (90%) plummet in the value of BITCONNECT’s

   investors’ $2.5+ billion holdings.

           Although BITCONNECT contended, in the wake of terminating its trading and lending

   functions, that it would continue to support the proprietary cryptocurrency token it had created and

   required its investors to purchase, that promise was hollow; as the only true value the token held was

   on BITCONNECT’s own platform. The damage was already done, and investors holding BCC have

   suffered 95+% losses on their investments at BITCONNECT.

           As a result of the foregoing scheme, the risk of asset dissipation and dispersion now falls

   squarely on Plaintiffs’ and the potential Class’ shoulders, while Defendants reap the benefits of their

   fraud and theft. Given these facts, Plaintiffs commenced this action and are entitled to a Temporary

   Restraining Order freezing Defendants’ assets and requiring Defendants to disclose their

   cryptocurrency wallet addresses to preserve the status quo ante pending the outcome of this litigation.

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                                               LEGAL ARGUMENT

     I.    The Court Can Issue an Injunction to Freeze Assets in this Action for Equitable Relief.

           1.       Under the general rule, federal courts lack the authority to freeze assets of a defendant

   before the claims have been brought to judgment. See, Grupo Mexicano de Desarrollo S.A. v. Alliance Bond

   Fund, Inc., 527 U.S. 308, 322 (1999). “However, when the plaintiff is seeking equitable relief, as

   opposed to merely legal damages, the federal courts have the authority to issue a preliminary injunction

   in order to freeze the assets of a defendant if the requirements for a preliminary injunction are

   otherwise satisfied.” Clayton v. Heartland Resources, Inc., 2008 WL 5046806, at *4 (W.D. Ky. Nov. 21,

   2008) (citing Grupo, 527 U.S. at 324-325); see also, In re Focus Media, Inc., 387 F.3d 1077, 1084 (9th Cir.

   2004) (citations omitted). In Focus Media, the Ninth Circuit specifically noted that the rule against

   injunctive relief as articulated in Grupo Mexicano did not apply to the underlying claims for fraudulent

   conveyance and constructive trust, ultimately concluding that the trial court’s entry of a preliminary

   injunction had been proper. Id. at 1085.

           2.       Moreover, Rule 64 of the Federal Rules of Civil Procedure provides that when state

   law authorizes a prejudgment remedy to secure assets subject to a plaintiff’s state law claims, state law

   governs such relief. Rule 64, Fed.R.Civ.P.; Granny Goose Foods, Inc. v. Bhd. of Teamsters Local 70, 415

   U.S. 423, 436 n. 10 (1974).

           3.       Here, Plaintiffs and the Class seek equitable relief in addition to their legal remedies

   and are entitled to an injunction to maintain the status quo until the claims in the Amended Class Action

   Complaint can be resolved. Amongst other claims and remedies sought, Plaintiffs allege violations of

   federal securities laws, Florida securities laws, numerous common law torts (conversion, civil

   conspiracy); and request relief in the following forms of equity:

                •   An Order enjoining Defendants from making further transfers or
                    dissipations of the investment funds and assets raised in connection with the


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                    promoted BitConnect Investments, or using such funds and assets in any
                    further purchases or transactions;

                •   A judgment awarding Plaintiffs and the Class Members equitable restitution,
                    including, without limitation, rescission of their investments in
                    BITCONNECT, restoration of the status quo ante , and return to Plaintiffs
                    and the Class Members all cryptocurrency or fiat currency paid to Defendants
                    in connection with the BitConnect Investments as a result of Defendants’
                    unlawful and unfair business practices and conduct;

                •   An Order requiring an accounting of the remaining funds and assets raised
                    from Plaintiffs and the Class in connection with the BitConnect Investments;
                    and

                •   An Order imposing a constructive trust over the funds and assets rightfully
                    belonging to Plaintiffs and the Class.

   See, Amended Class Action Complaint at “Prayer for Relief” [Docket Entry No. (“DE”) 5] at Pg. 53.

           4.       In Deckert v. Independence Shares Corp., the United States Supreme Court held that a claim

   by a purchaser of a security to rescind a fraudulent sale and obtain restitution of the consideration

   paid is a claim for equitable relief and that a preliminary injunction was appropriate to maintain the

   status quo where there was real risk of insolvency and dissipation. 311 U.S. 282, 288-289 (1940).

           5.       Additionally, with regard to the claim for imposition of a constructive trust, Florida

   courts have authorized equitable injunctive relief to secure the assets subject to the claim. Friedman v.

   Heart Institute of Port St. Lucie, Inc., 863 So.2d 189, 192 (Fla. 2003); Briceño v. Bryden Investments, Ltd., 973

   So.2d 614, 617 (Fla. 3d DCA 2008) (and cases cited therein).

           6.       In a similar class action lawsuit filed against BITCONNECT and Defendant

   RYAN MAASEN just days after the instant lawsuit was commenced, the U.S. District Court

   for the Western District of Kentucky has already entered against each of the defendants in

   that case a Temporary Restraining Order providing the very relief sought herein. 2


   2
    See, Paige v. BitConnect International PLC, BitConnect Ltd., BitConnect Trading Ltd., and Ryan Maasen, U.S.
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           7.       Accordingly, Plaintiffs are entitled to a Temporary Restraining Order if the other

   requirements for a Temporary Restraining Order have been met. For the reasons described below,

   Plaintiffs are entitled to such relief.

    II.    A Temporary Restraining Order Is Appropriate to Prevent Immediate and Irreparable Harm

           8.       In considering a Temporary Restraining Order, the Court must consider the following:

   (1) the likelihood of irreparable harm; (2) the unavailability of an adequate remedy at law; (3) the

   substantial likelihood of success on the merits; (4) the threatened injury to the petitioner outweighs

   the possible harm to the respondent; and (5) a temporary injunction will not disserve the public

   interest. City of Miami Beach v. Kuoni Destination Mgmt., Inc., 81 So. 3d 530, 532 (Fla. 3d DCA 2012); see

   also Siegel v. LePore, 234 F.3d 1163, 1179 (11th Cir. 2000), cert. denied, 531 U.S. 1005, 121 S. Ct. 510, 148

   L. Ed. 2d 478 (2000) (citations omitted). As shown below, Plaintiffs satisfy each element of that

   standard.

   III.    Plaintiffs Have a Substantial Likelihood of Success on the Merits of Their Claims

           9.       The harms alleged in the Amended Class Action Complaint make clear that

   BITCONNECT, made up of several British entities, was both a pyramid scheme and a Ponzi scheme.

   In essence, Defendants participated in a so-called “investment” scheme in which it lured in users

   through affiliates/promoters -- such as Defendants GLENN ARCARO, TREVON JAMES, RYAN

   HILDRETH, CRAIG GRANT, CRYPTONICK, and RYAN MAASEN -- who endorsed the

   extraordinary results they had received from BITCONNECT. These promoters received sizeable

   bonus payments from BITCONNECT for each user recruited to BITCONNECT.

           10.      Defendants GLENN ARCARO, TREVON JAMES, RYAN HILDRETH, CRAIG

   GRANT, CRYPTONICK, and RYAN MAASEN encouraged their YouTube viewers and social

   media followers -- including Plaintiffs and the Class -- not to keep their investment returns; but instead

   to re-invest the daily interest earnings back into BITCONNECT.

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           11.     As a result, the typical user never actually made money; while the money generated by

   the “program” kept getting re-circulated into BITCONNECT.

           12.     On January 4, 2018, the Texas State Securities Board issued to BITCONNECT an

   Emergency Cease and Desist Order in which the Securities Commissioner of the State of Texas

   presented his office’s conclusion that, inter alia:

                   (a) the BitConnect Investments are securities;

                   (b) BITCONNECT had violated numerous securities regulations by offering
                       the BitConnect Investments for sale in Texas;

                   (c) BITCONNECT had engaged in fraud and made materially misleading
                       statements about the BitConnect Investments that were likely to deceive
                       the public; and

                   (d) BITCONNECT’s conduct, acts, and practices threaten an immediate and
                       irreparable public harm.

           13.     On January 12, 2018, the State of North Carolina’s Department of the Secretary of

   State - Securities Division issued to BITCONNECT a Temporary Cease and Desist Order in which

   the State presented its conclusion that the BitConnect Investments were unregistered securities being

   offered to the residents of the State and that those investments posed an immediate and irreparable

   harm to the residents of North Carolina.

           14.     On January 13, 2018, BITCONNECT’s website went down. At first, BITCONNECT

   claimed to its users that it had been experiencing “server issues.” On the morning of January 17, 2018,

   however -- amidst increased scrutiny from government regulators and watchful cryptocurrency

   industry experts -- BITCONNECT abruptly closed its cryptocurrency lending and exchange platform.

           15.     In the wake of BITCONNECT’s abrupt closure of its lending and exchange

   operations, many of BITCONNECT’s promoters -- including Defendants GLENN ARCARO,

   TREVON JAMES, RYAN HILDRETH, CRAIG GRANT, CRYPTONICK, and RYAN MAASEN

   -- furiously deleted their promotional videos and materials from the internet.


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           16.     When the BITCONNECT lending program closed, the value of BCC plummeted

   from approximately $440 per BCC to approximately $11 per BCC; and that value -- as of the filing of

   this motion -- has since further dropped to approximately $4.50 per BCC.

           17.     At this point, Plaintiffs and the Class, many of whom had invested thousands if not

   hundreds of thousands of dollars in BITCONNECT, have been left with valueless digital tokens.

           18.     These allegations rely extensively on information provided on BITCONNECT’s

   websites (http://bitconnect.co and http://bitconnectcoin.co)3, and are bolstered by remaining, and

   newly-published, videos from Defendants GLENN ARCARO, TREVON JAMES, RYAN

   HILDRETH, CRAIG GRANT, CRYPTONICK, and RYAN MAASEN, who claim to have

   benefitted from the fraudulent scheme and urged others to “invest” with BITCONNECT.

           19.     BITCONNECT and its well-compensated recruiters willfully failed to disclose and

   misrepresented material facts when offering the BitConnect Investments, including, but not limited

   to, the following:

                   (a) The identity of the principals of BITCONNECT and the true location of
                       BITCONNECT’s operations and management;

                   (b) Information about the assets and liabilities of BITCONNECT and any
                       other information that indicates the means by which BITCONNECT will
                       provide investors with a guaranteed daily return, regardless of the value of
                       bitcoin;

                   (c) Information about the proprietary, secret trading system (the “volatility
                       software”), details of its trading records and historical performance, proof
                       of its existence, and the risk factors associated with its use;

                   (d) That the BitConnect Investments are securities and are not registered with
                       any government regulator, as required by state and federal law;



   3
    Upon information and belief, Defendant JOSHUA JEPPESEN -- the Development Director for
   BITCONNECT’s operations in the United States and Europe -- played an integral role in developing
   and promoting the BitConnect websites. Without his vital contributions, the BitConnect websites
   would not have functioned as well as they did and would not have ensnared as many victims who fell
   prey to Defendants’ promotion of the BitConnect Investments.
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                    (e) That only registered dealers or agents can be paid commissions for
                        referrals or sales of securities; and

                    (f) That BITCONNECT affiliates who receive such commissions for their
                        sale of BitConnect Investments without being properly registered are
                        doing so in violation of state and federal securities laws.

           20.      To the contrary, BITCONNECT touted its “lending program” as a “safe way to earn

   a high rate of return on . . . investment[s] without having to undergo a significant amount of risk.”

           21.      Based on that fraudulent behavior, Plaintiffs and the Class have asserted claims for:

   (1) violations of federal securities laws, (2) violation of Florida securities laws, (3) violation of Florida’s

   Deceptive and Unfair Trade Practices Act, and (4) multiple common law claims, including rescission

   of contract, fraudulent inducement, fraudulent misrepresentation, negligent misrepresentation,

   conversion, and civil conspiracy.

           22.      After Texas and North Carolina recognized the dangerous nature of BITCONNECT’s

   online operation and took action to protect their citizens, Defendants saw the writing on the wall and

   quickly shut down their operations. Federal and Florida securities law do not materially differ from

   the regulation of securities in Texas and North Carolina; and therefore, it is very likely that Plaintiffs

   and the Class’ claims arising from violations of federal and Florida securities laws have a very high

   likelihood of success. Compare Tex. Rev. Civ. Stat. Ann. Art. §§ 581-1, et seq. (requiring registration

   before sale of securities, defined to include share, stock, investment contracts, or “any other

   instrument commonly known as a security,” and allowing Commissioner to intervene to prevent fraud

   in the sale or offer of securities); N.C. Gen. Stat. §§ 78A-1, et seq. (requiring registration and honest

   disclosure when engaging in the sale of any “security,” defined to include a note, stock, transferrable

   share, investment contract, or “any interest or instrument commonly known as a security”); 15 U.S.C.

   §§ 77a, et seq. (requiring registration and honest disclosure when engaging in the sale or offer of any

   “security,” defined to include any note, transferrable share, investment contract, or “any interest or

   interest commonly known as a security”); and Fla. Stat. §§ 517.07, et seq. (requiring registration and
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   honest disclosure when engaging in the sale or offer of any “security,” defined to include any note,

   transferrable share, investment contract, or “any other instrument commonly known as a security”).

            23.      In light of the foregoing, there is a high likelihood that Plaintiffs and the proposed

   Class will succeed on their under federal and Florida securities laws.

            24.      As for Plaintiffs’ request that a constructive trust be applied, Florida law provides that

   a constructive trust is appropriately imposed as follows:

                  [A] court of equity will raise a constructive trust and compel restoration where
                  one through actual fraud, abuse of confidence reposed and accepted, or through
                  order questionable means gains something for himself which equity and good
                  conscience he should not be permitted to hold.

   Quinn v. Phipps, 93 Fla. 803, 113 So. 419, 422 (Fla. 1930) (citations omitted). A constructive trust is

   “created by law to do equity under the circumstances without regard to intent.” Palmland Villas I Condo.

   Ass’n, Inc. v. Taylor, 390 So.2d 123, 125 (Fla. 4th DCA 1980). A constructive trust is therefore appropriately

   established “to right a wrong committed and to prevent unjust enrichment of one person at the

   expense of another either as a result of fraud, undue influence, abuse of confidence or mistake in the

   transaction.” In re Fin. Federated Title and Trust, Inc., 347 F.3d 880, 891 (11th Cir. 2003) (applying Florida law).

            25.      As explained above, Defendants solicited and/or accepted from Plaintiffs and the

   Class Members large sums of funds, assets, and cryptocurrency while withholding from Plaintiffs and

   the Class Members certain material facts that, if disclosed, would have prevented Defendants’

   fraudulent scheme from perpetuating itself to the detriment of Plaintiffs and the Class.

   BITCONNECT conducted no legitimate business -- something of which Defendants JOSHUA

   JEPPESEN, GLENN ARCARO, TREVON JAMES, RYAN HILDRETH, CRAIG GRANT,

   CRYPTONICK, and RYAN MASSEN were aware and which they accepted as part of the scheme to

   defraud BITCONNECT investors and accountholders, including Plaintiffs and the Class Members.

            26.      As shown above, success on the merits of Plaintiffs’ and the Class’ common law claims

   is very likely.
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   IV.      Plaintiffs Will Suffer Irreparable Harm if Defendants Are Not Enjoined

            27.     There is a significant risk that BITCONNECT and its promoters, including

   Defendants GLENN ARCARO, TREVON JAMES, RYAN HILDRETH, CRAIG GRANT,

   CRYPTONICK, and RYAN MASSEN, may dissipate money generated from Plaintiffs and the Class

   or simply transfer those funds into another financial scam.

            28.     For example, just days after BITCONNECT imploded, several of the promoter

   Defendants have posted videos on their YouTube accounts promoting other “lending” sites, such as

   Davor, which operate exactly like BITCONNECT did. 4 Davor, however, has already been issued an

   Emergency Cease and Desist Order by the Texas State Securities Board for all the same reasons

   BITCONNECT was issued a similar order a few weeks prior: securities registration violations, fraud

   in connection with the offer of investments, and promotion of misleading and deceptive statements

   that threaten immediate and irreparable public harm. 5

            29.     Moreover, available evidence makes clear that BITCONNECT has been far from

   transparent with its users since it came under scrutiny from the securities regulators in Texas and

   North Carolina. After the Cease and Desist Orders were issued, BITCONNECT advised its members

   it would be temporarily shut down to address a “server issue.” Within days of that announcement,

   BITCONNECT closed its trading and lending operations, promising repayment of its BCC at $363

   per coin. However, the price of BCC has dropped dramatically since then, leaving users with a 99+%

   loss on their original investments:




   4
     See, e.g., RYAN MAASEN (https://www.youtube.com/watch?v=mw317F5fkag), TREVON
   JAMES (https://www.youtube.com/watch?v=ogVkuwWPtF40). Additional videos made by the
   promoter Defendants have since been deleted from YouTube.
   5
       See, https://www.ssb.texas.gov/sites/default/files/ENF-18-CDO-1757_0.pdf.
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          30.     Considering the unreliability and past fraudulent tactics Defendants have displayed, it

   is imperative to freeze Defendants’ assets to maintain the status quo to avoid dissipation of the money

   illegally taken from Plaintiffs and the Class. Requiring Defendants to produce their digital wallet


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   addresses will allow the parties to monitor the funds to track any attempts by Defendants to dissipate

   funds in those wallets.

    V.     There Is Little Prejudice to Defendants If the Temporary Restraining Order Is Entered

           31.     While Plaintiffs and the Class would be severely prejudiced if Defendants dissipate the

   funds wrongfully taken from Plaintiffs and the Class, Defendants face no such prejudice.

   BITCONNECT has already shut down its website and lending platform, presumably the only business

   purpose for which they had been created. Accordingly, BITCONNECT is -- for all intents and

   purposes -- a non-operational business entity which has exposure to significant liabilities to Plaintiffs

   and the Class. An order forbidding BITCONNECT from moving its assets will, at worst, delay

   BITCONNECT from winding-up its affairs; and at best, will help maintain the status quo for Plaintiffs

   and the Class to recover the billions of dollars illegally obtained through Defendants’ fraudulent

   scheme.

           32.     With respect to the individual defendants, the restraining order would prevent them

   from using some of their cryptocurrency assets. However, given the significant likelihood that they

   engaged in illegal promotion and sale of securities by participating in BITCONNECT’s pyramid and

   Ponzi scheme, any perceived injury to the individual defendants is greatly outweighed by protecting

   the thousands upon thousands of BITCONNECT accountholders worldwide who relied on the

   individual promoters’ representations when investing in BITCONNECT. In addition, as several of

   the BITCONNECT promoters are already promoting other lending sites similar to BITCONNECT,

   it is likely they are still actively trading and investing cryptocurrency and not converting those assets

   to cash to pay for living expenses.

   VI.     Plaintiffs Have No Adequate Remedy at Law

           33.     Plaintiffs’ and the Class’ only remedy to recover the billions of dollars of assets

   fraudulently taken from them is through their right to equitable relief in the form of an injunction to

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   asset dissipation by the Defendants, through imposition of a constructive trust to prevent the

   dissipation of the Property, and by receiving from Defendants an accounting that adequately tracks

   the funds and assets raised from Plaintiffs and the Class in connection with the BitConnect

   Investments. A legal remedy for monetary relief alone will not adequately protect Plaintiffs’ equitable

   ownership interest in those funds and assets that -- in the unregulated world of cryptocurrency -- can

   disappear with the click of a computer mouse.

   VII.    Entering a Temporary Restraining Order Is In the Public Interest

           34.     The public interest strongly supports entry of a temporary restraining order here.

           35.     Based on available information, tens of thousands of Americans -- and an equal

   number of victims, if not larger worldwide -- have invested in BITCONNECT and have lost money

   in its fraudulent scheme. There may be several billion dollars implicated in this litigation, and the

   public will be best protected by maintaining the status quo of a non-operational business and a small

   group of promoters who continue to recklessly promote risky cryptocurrencies without providing full

   or truthful disclosures to their audience.

           36.     Moreover, entering a temporary restraining order would serve the public interest by

   preserving and stabilizing the worldwide use of cryptocurrencies and by promoting the objectives of

   the Financial Crimes Enforcement Network [FinCEN] (a division of the U.S. Department of the

   Treasury) by providing assurance that courts will protect investors’ assets from theft and will aid

   investors in their recovery of stolen assets when they can be readily located and traced to specific

   locations, like the purloined investor assets in this action.

  VIII.    A Temporary Restraining Order Without Notice to Defendants Is Appropriate.

           37.     This Court may issue a Temporary Restraining Order without written or oral notice to

   the adverse parties if: (1) specific facts in an affidavit or a verified complaint demonstrating immediate

   and irreparable injury, loss, or damage will result before the adverse party can be heard in opposition;

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   and (2) the movant’s attorney certifies in writing any efforts made to give notice and the reasons why

   it should not be required. See, Fed. R. Civ. P. 65(b)(1).

           38.     As described above, failure to freeze Defendants’ assets and allow for monitoring of

   their digital wallets may preclude Plaintiffs and the Class from obtaining the equitable relief available.

   Upon receiving news that its investment scheme had come under the watch of regulators in America,

   BITCONNECT quickly shuttered its operations and refused to provide any value for the useless BCC

   its users were left holding. The Amended Class Action Complaint filed in this Court is but one of

   four class action lawsuits currently pending in the United States, with many more anticipated to follow.

   With the known fraudulent tactics of these fraudulent corporations -- which have failed to provide

   any reasonable assurances that the money stolen may still be available -- and the inherently ephemeral

   and unregulated nature of cryptocurrency, the risk of dissipation is both immediate and irreparable.

           39.     Because BITCONNECT consists of a series of British entities, service will be difficult

   and time consuming. Moreover, BITCONNECT’s officers and Directors -- with the exception of

   Defendants JEPESSEN and ARCARO -- are believed to all be foreign nationals; and therefore it is

   difficult to inform the appropriate individuals of the relief sought. 6

           40.     Counsel has no contact information available to it other than the BITCONNECT

   addresses listed in the Complaint and the addresses for the individual defendants at which service of

   process has yet proven to be unsuccessful.

           41.     In sum, the import of protecting the equitable relief available to Plaintiffs and the Class

   is too important to wait for Defendants and perhaps would only serve to give Defendants additional

   time to dispose of their assets.

           42.     A Declaration in support of the relief sought herein has been filed simultaneously herewith.


   6
     Upon information and belief, both Defendant JEPPESEN and Defendant ARCARO are travelling
   indefinitely through Europe and Asia.
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                                                  CONCLUSION

           For the foregoing reasons, Plaintiffs CHARLES WILDES, FRANCISCO DORIA, AKIVA

   KATZ, JAMES GURRY, RONALD NELSON, and JUSTIN PERRY, individually and on behalf of

   all others similarly situated, respectfully request that the Court find that Plaintiffs have satisfied the

   elements of their claim for preliminary injunctive relief and that the Court enter a Temporary

   Restraining Order preventing and prohibiting the transfer, sale, encumbrance or other disposition of

   Defendants’ assets and requiring Defendants to provide the Court and Plaintiffs’ counsel tracking

   information of Defendants’ addresses for their bitcoin and other digital cryptocurrency wallets to

   preserve the status quo ante pending the full adjudication of Plaintiffs’ claims.



                                                                   Respectfully submitted,

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